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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

AZEEZ RABIU,                                                   )
                                                               )
         Plaintiff,                                            )
                                                               )
                        v.                                     )       No.
                                                               )
ABBOTT LABORATORIES,                                           )       Jury Trial Demanded
                                                               )
         Defendant.                                            )

                                      COMPLAINT AT LAW

         NOW COMES the Plaintiff, AZEEZ RABIU (“RABIU” or “Plaintiff”), through his

attorneys, Henderson Banks Law, and for his Complaint at Law, states as follows:

                                          JURISDICTION

         1.      This is a suit in equity authorized and instituted pursuant to Title VII of the Civil

Rights Act of 1964, as amended, 42 U.S.C. §2000(e)-2. The jurisdiction of this court is invoked

pursuant to 28 U.S.C. § 1332(a)(1) as the parties are citizens of different states and the amount in

controversy exceeds $75,000. Jurisdiction is also invoked pursuant to 28 U.S.C. §§ 1343(a)(3) and

(4) and 28 U.S.C. § 1331 to secure protection of and to address deprivation of rights secured by

42 U.S.C. §2000(e)-2, providing for declaratory, injunctive, compensatory, and other relief against

employment discrimination based upon race and retaliation. Plaintiff seeks declaratory relief

pursuant to 28 U.S.C. §§ 2201 and 2202.

         2.      Venue in this district is proper under 28 U.S.C. §1391(B)(1) and (2).            The

Defendant resides or resided in this district and the events giving rise to Plaintiff’s claims occurred

here.

         3.      All conditions precedent to jurisdiction have occurred or been complied with, to-

wit:
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               a. A charge of employment discrimination was filed with the Illinois Department
                  of Human Rights ("IDHR”), by Plaintiff AZEEZ RABIU ("RABIU”), on
                  January 31, 2022, a copy of which is attached hereto as Exhibit 1.

               b. RABIU was issued a notice of dismissal IDHR on January 12, 2023, a copy of
                  which is attached hereto as Exhibit 2.

                                            PARTIES

       4.      RABIU is a citizen of the United States and the State of Illinois. He currently resides

in Arlington Heights, Illinois.

       5.      RABIU is a member of a protected class, Black.

       6.      RABIU was, at all relevant times, employed by the Defendant herein, ABBOTT

LABORATORIES (“Defendant” or “ABBOTT”).

       7.      ABBOT is a Delaware corporation with its principal place of business in Illinois.

       8.      ABBOT was, at all relevant times, a developer and manufacturer of medical devices

and a life sciences company. ABBOT employs approximately more than 100,000 employees.

       9.      ABBOTT is an employer as that term is defined under the under Civil Rights Act

of 1964, as amended.

                                    BACKGROUND FACTS

       10.     Plaintiff is a member of a protected class, Black.

       11.     In August of 2017, RABIU began working for Defendant at its facility in Lake

Bluff, IL.

       12.     RABIU started as a Senior Procurement Specialist (Level 16) supporting the

Business Consulting category. RABIU reported to Ceaneh Alexis (black), Senior Category

Manager of the Human Capital category (Level 20).

       13.     RABIU’s responsibilities as Senior Procurement Specialist included managing

category spend, negotiating contracts, consulting statuses, working with internal stakeholders to

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understand the needs of the business, and then going to external vendors to meet those needs; and

also working on commercial cost savings for Defendant.

         14.   For the entire time that he was a Senior Procurement Specialist, RABIU performed

these duties to Defendant’s legitimate expectations.

                    RABIU is assigned the work of more than three people

         15.   RABIU’s colleagues in his procurement group were Emily Coronado (non-black),

Category Lead, Management Consulting and Core Business Services (level 18) and Annaliece

Gargiulo (non-black), Category Lead, Contingent Labor (level 18). None of RABIU’s colleagues

in his procurement group did exactly what he did.

         16.   On or about April 2018, Coronado transitioned to another role within the company.

Defendant did not backfill her role on RABIU’s team.

         17.   On or about August 2018, Gargiulo transitioned out of the company. Defendant

did not backfill her role on RABIU’s team.

         18.   On or about October 2018, Alexis transitioned out of the company. Defendant did

not backfill her role on RABIU’s team, but some of her responsibilities were transitioned to Mark

Troth (non-black), Director, Category Procurement (level 21). Mark Troth (non-black) was

assigned as RABIU’s manager on or about December 2018.

         19.   Because Coronado, Gargiulo, and Alexis’s roles were not backfilled, RAIBU had

to take on some of their responsibilities upon their departure. As a result, RABIU’s duties increased

substantially, and he had to work around 80 hours per week to keep key operational activities

going.

         20.   RABIU’s dramatic increase in responsibilities, including those of three higher-level

roles, meant that he was effectively doing the work of a Senior Manager (level 20), without the

title and compensation.
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         21.   As a result of RABIU’s increased workload, he had to cancel his travel plans to see

his family in November and December of 2018. RABIU obtained approval from his manager,

Troth, to carry the unused vacation days over into 2019, provided that he used them before the end

of Q1.

 RABIU succeeds, but is denied recognition and compensation for his increased workload

         22.   Despite the substantially increased workload, RABIU successfully delivered on all

of his assigned goals for 2018, as well as other larger initiatives within the company. This was

reflected in his 2018 end of year performance review, and Rabiu received a rating of “Best at

Abbot”. This performance review was conducted & approved by Megan Wilson, Senior Director

of Procurement, on or about February 2019.

         23.   On or about April 10, 2019, RABIU was asked to apply for a Category Lead role

(level 18). In the new role, RABIU would continue to perform the same Senior Manager (level 20)

equivalent duties as before, with the same insufficient level of support.

         24.   RABIU had requested another role within the company where he could further

grow, or to be considered for a level 20 role because he had been successfully performing level 20

responsibilities with limited resources. This level 20 role would have granted RABIU the title,

recognition, and compensation commensurate with the duties that he was actually performing.

         25.   RABIU was persuaded to take the level 18 role by the CPO, Ric Schneider, on the

promise that working for his new manager Neelam Kelly (non-black) would give him the visibility

to be credited for his achievements. Neelam Kelly moved into another role a few weeks later.

         26.   RABIU requested a 15% increase in pay based upon his demonstrated skills at the

and the high-level responsibilities which he was performing. This request was rejected.

         27.   RABIU continued to support the entire Human Capital category alone, while also

supporting the Research and Development workstream, with only a sourcing operations team
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member Carla McCombs. RABIU continued having to work 80-hour weeks to keep up with his

duties.

                RABIU’s health deteriorates as a result of his increased workload

          28.    As a result of working 80-hour weeks for multiple consecutive months, RABIU’s

health began to deteriorate. RABIU experienced severe neck, shoulder, and back pain.

          29.    On or about April 29, 2019, RABIU was diagnosed with “severe muscle spasm”

caused by stress. He was prescribed cyclobenzaprine as a muscle relaxer and referred to physical

therapy. RABIU started physical therapy at Athletico in Deerfield on or about May 7, 2019.

          30.    RABIU requested a flexible working arrangement to seek treatment for his muscle

spasms. This request was granted, and RABIU was allowed to visit the physical therapy clinic

once a week during work hours, so long as he returned to work afterwards.

          31.    Three weeks later, the flexible working arrangement was cancelled, even though

RABIU needed the arrangement to be able to seek treatment.

                   Defendant repeatedly denies RABIU’s requests for support

          32.    On May 8, 2019, RABIU met with Troth to discuss a program RABIU had

developed which could help the procurement group deliver on a critical margin and improvement

goal. RABIU also asked Troth for support on his workload. Troth responded that he wanted

RABIU to lead the project but did not offer any support for RABIU’s other critical responsibilities.

As a result, RABIU left the meeting with even more work on his plate.

          33.    On May 14, 2019, RABIU met with Terry Park, Director of Business Human

Resources (non-black), to discuss RABIU’s unsustainable workload. RABIU told Park that he was

required to do the work of at least three employees, including work which was considered director

and senior manager-level deliverables, without any support. RABIU specifically mentioned that



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Troth had directed him to lead his new project without any support for his workload. RABIU stated

that this was affecting his mental and physical health.

       34.     At the meeting, RABIU also told Park that he was concerned that he was being

discriminated against on the basis of race because the Marketing team, and every other team, none

of whose members were black, was being given more resources than his Human Capital team. HR

had canceled the posted backfills for Coronado and Gargiulo, whose work RABIU had been doing

since they transitioned out in Fall of 2018. Park told RABIU to write up his current workload and

schedule a call with Megan Wilson (non-black).

       35.     On May 22, 2019, RABIU met with Wilson to discuss his workload and health

concerns. Wilson assigned Meenu Raval, Senior Manager (non-black) as RABIU’s new manager

and directed him to follow up with her. Wilson also directed RABIU to discuss his workload with

newly-hired Amy Eng, Global Category Lead (non-black).

       36.     On May 30, 2019, RABIU met with Eng as directed by Wilson. Unlike RABIU,

who was expected to take on extra duties and projects far beyond his pay grade, Eng refused to

provide any support on the operational projects and workflows with which RABIU needed help.

Eng only offered to provide limited help with organizational policies.

       37.     On May 5, 2019, RABIU met with Raval to discuss his workload and his

unproductive meeting with Ang. RABIU informed Raval of his deteriorating health as a result of

his expanded role. Raval directed RABIU to schedule a meeting with her, Wilson, and Park to

discuss.

       38.     On May 10, 2019, and before the scheduled meeting, RABIU again met with Raval.

RABIU told Raval that he would need more support for the Human Capital team, given Ang’s

limited definition of her role on the team. RABIU noted that other categories were being given

additional resources, while his Human Capital team was being expected to do more with less.
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RABIU stated that it was unfair to expect him and the RPO team member Carla McCombs to

continue to overwork themselves to meet their goals.

       39.     This pattern continued into 2019 and 2020:

               a. RABIU was expected to perform responsibilities above and beyond his role,

                  with almost no support.

               b. RABIU’s extreme workload meant he often worked 80-hour weeks, and

                  destroyed his mental and physical health.

               c. In spite of these odds, RABIU would meet his goals, delivering value to the

                  company.

               d. RABIU would be denied recognition for his achievements, as well as

                  promotions and raises.

               e. RABIU’s own accomplishments would often be attributed to other non-black

                  employees.

               f. RABIU would be expected to continue performing his unsustainable work,

                  without support.

               g. But other similarly situated non-black employees would receive more support

                  and resources for their own work.

  Defendant begins retaliating against RABIU for his complaints of racial discrimination

       40.     On June 11, 2019, RABIU met with Raval, Wilson, and Park to discuss his concerns

about his increased workload, lack of support, and declining health. RABIU complained that it

seemed that he was being set up to fail while other non-black employees were being set up to

succeed. RABIU noted that he and another black employee, Carla McCombs, had been repeatedly

asked to do more with less, not recognized for our achievements, and denied support and resources.

RABIU stated that it was insinuated that he and McCombs only worked well together because they
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“liked each other”, insinuating they were romantically involved. RABIU stated that he observed

other team members of different races being rewarded for delivering less value to the company,

such as Murali Venugopalan (non-black).

       41.     Following the June 11, 2019 meeting where RABIU expressed concern that he was

being treated differently on the basis of race, Raval became hostile to him. Raval began

intimidating, harassing, and publicly undermining RABIU.

       42.     On or about September 15, 2019, Troth denied RABIU’s request to carryover

unused holidays, despite the fact that Troth had earlier approved such a request.

       43.     Troth also refused to reimburse RABIU for the days that he had to work while he

was on vacation. This, despite the fact that Troth was the one who requested that RABIU work

while on paid vacation.

       44.     On information and belief, Troth denied RABIU’s vacation day carryover and

reimbursement requests in retaliation for RABIU’s discrimination complaints at the June 11, 2019

meeting. This is because Troth had previously granted RABIU’s carryover request in 2018.

       45.     RABIU reported Troth’s conduct to the employee relations team, who never

followed up on the issue.

       46.     On or about September 16, 2019, Raval canceled the pre-existing flexible working

arrangement whereby RABIU was allowed to seek medical treatment during work hours. When

asked why, Raval responded that “Management doesn’t support remote work”, even though the

arrangement required RABIU to return to the office during work hours. Raval directed RABIU to

apply for FMLA to attend physical therapy. As a result, RABIU had to start taking unpaid leave

to attend physical therapy.

       47.     On or about September 17, 2019, Raval denied RABIU’s application for flexible

working arrangement. RABIU had requested to work remotely for one week to support his sick
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mother in Nigeria who needed emergency surgery. RABIU complained that he wanted to continue

working visiting his mother because there was no-one available who could do his work while he

was away. Regardless, RABIU could not use vacation days because Troth had earlier rescinded

his approval to carryover unused vacation days. As a result, RABIU was again forced to take

unpaid leave.

       48.      On information and belief, Raval canceled RABIU’s flexible working arrangement

and denied his remote work request in retaliation for his complaints of racial discrimination, and

not based on company policy. This is because other non-black employees of Defendant were

afforded flexible working arrangements, despite Raval’s claim that such an arrangement was not

allowed. For example, Meghan McGill (non-black) was allowed to work remotely to be with her

parents when her grandmother died in September 2019.

       49.      On or about September 20, 2019, RABIU applied and interviewed for a Senior

Manager role under Murali Venugopalan for the Research and Development Team (“RND”).

RABIU was denied this opportunity, even though he met and exceeded all required qualifications

for the role. RABIU had been effectively doing the work of a Senior Manager while supporting

the Human Capital team for more than a year, in addition to his responsibilities as category lead.

The hiring manager told RABIU that Wilson prevented him from hiring RABIU. Upon

information and belief, Wilson did this in on the basis of race, and in retaliation for RABIU’s

statements at the June 11, 2019 meeting, and not due to his qualifications for the role.

       50.      The role was later put on hold, but Raval directed RABIU to continue to own and

lead this workstream. Thus, once again, RABIU was asked to continue doing the work of a Senior

Manager, while being denied the pay and recognition of a Senior Manager.

       51.      On or about September 25, 2019, Raval handed RABIU a strongly worded and

threatening letter while he was heading out of the office. Raval’s letter was unjustified and violated
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company policy. Raval never had any prior discussion with RABIU about his performance. On

information and belief, Raval did this to harass and intimidate RABIU following the June 11, 2019

meeting. This is because Raval later sent RABIU an email confirming that the letter was not

justified.

        52.    On or about March 20, 2020, Raval gave RABIU an unfavorable performance

review for 2019. When asked why, Raval stated “Management thinks you struggled during the

year”. This performance review was contrary to overwhelming documented evidence. This

negative performance review was used to justify a lower merit score, which resulted in reduced

bonuses and compensation. Upon information and belief, the negative review was in retaliation

for RABIU’s discrimination complaints at the June 11, 2019 meeting.

        53.    No other similarly situated non-black employees of Defendant were subject to the

same unfair treatment as RABIU during this time.

        54.    On June 6, 2020, Abbott CEO Robert Ford held a town hall meeting for what seem

to be a subset of the black employee population, where he stated that he said he was aware of a

case of extreme racism and he promised to take immediate actions to resolve it including making

the employees involved whole and compensating them.

        55.    Robert Ford specifically mentioned issues within RABIU’s claim and stated that

the matter would be resolved, leading RABIU to believe this was a promise to rectify his claims

of discrimination.

                      The false and retaliatory 2020 Performance Review

        56.    On or about June of 2020, RABIU was diagnosed with chronic depression and post-

traumatic stress disorder.




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       57.     As a result, RABIU went on FMLA leave .

       58.     In January of 2021, RABIU had a meeting with Jose Silva (non-black) to discuss

his return to work. Silva instructed RABIU to reach out to Robert Lanton, Senior Procurement

Manager (black).

       59.     Lanton had been at the company since November of 2020, and was RABIU’s

supervisor from November onwards. Lanton was responsible for assigning categories and

supporting the team.

       60.     Upon RABIU’s return, he should have reported directly to Lanton. Thus, RABIU

expected that Lanton would be completing RABIU’s performance review for 2020.

       61.     However, Silva made RABIU report directly to him.

       62.     When RABIU asked Silva why he was not reporting to Lanton, Silva stated that

“this is what management said and they would not want what happened last time to repeat itself.”

RABIU asked what Silva meant, but Silva cut him off and did not respond.

       63.     When RABIU later discussed the matter with Lanton, Lanton stated that he was

told that he would be RABIU’s manager, but that Silva was delaying the switch.

       64.     On February 12, 2021, Silva scheduled RABIU’s 2020 performance review

meeting for February 18, 2021.

       65.     Per company policy, RABIU requested a copy of the performance review document

in advance of the meeting. Silva did not send him the document in advance.

       66.     At the February 18, 2021 meeting, Silva ambushed RABIU with a negative

performance review, which stated that RABIU was “behind peers”. Silva had RABIU read the

review during the meeting and provide answers to Silva’s negative comments in real time. When

RABIU asked for clarification on Silva’s complaints, Silva rudely cut him off by saying that he

was “not discussing that”.
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       67.     At the meeting, RABIU complained that Silva’s conduct deviated from company

standards. Silvia’s failure to give him the performance review in advance deprived him of the

opportunity to meaningfully respond to Silva’s criticism.

       68.     The 2020 performance review was not based upon Silva’s own observations of

RABIU. Silvia had never managed or supervised RABIU at any point in 2020, and his only

personal experience with RABIU was a handful of brief meetings in 2021.

       69.     Silva told RABIU that the negative review was recommended by RABIU’s

previous manager in 2020, Arti Shadid (non-black).

       70.     As discussed above, managements’ criticisms of RABIU in 2020 were not based

upon RABIU’s actual performance but were in retaliation for his complaints about unequal

treatment and racial discrimination.

       71.     The 2020 performance review contained more false accusations against RABIU

from his former managers. It referenced conversations which never occurred and false deliverables

that were never communicated. These accusations were contrary to RABIU’s actual, documented

performance in 2020, as he had achieved all his assigned goals for that year.

       72.     RABIU told Silva that he believed that he was being punished for raising concerns

about his last manager and other employees, and for complaining about discrimination.

       73.     On February 24, 2021, RABIU received a finalized copy of the 2020 performance

review. This final copy contained additional negative comments and changes which were not

discussed at the February 18, 2021 meeting. This addition of undisclosed changes was contrary to

company policy.

       74.     As a result of the false and unjustified performance review, RABIU suffered

another reduction in compensation.



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       75.     Upon information and belief, Silvia had access to Defendants’ employee file for

RABIU. Upon information and belief, Silva was aware of RABIU’s comments at the June 11,

2019 meeting, either through RABIU’s file or through communicating with RABIU’s prior

managers. Upon information and belief, Silva was also aware of RABIU’s earlier complaints of

discrimination to management in 2019 and 2020.

       76.     Upon information and belief, RABIU’s prior managers from 2020 contacted Silva

and requested that he prepare a negative 2020 performance review for RABIU. This review served

as a vehicle for RABIU’s old discriminatory managers from 2020 to once again bring their false

accusations against him and hurt his career.

       77.     Upon information and belief, Silva knew that the accusations and criticisms

contained in RABIU’s 2020 performance review were false or was indifferent to their truth. Silva

ignored RABIU’s attempts to explain himself at the performance review meeting and was only

concerned with punishing RABIU.

       78.     Upon information and belief, Silva inserted himself into RABIU’s post-leave

onboarding for the express purpose of preparing and delivering the negative 2020 performance

review and punishing RABIU.

       79.     But for Silva’s intervention, RABIU would have reported directly to Lanton upon

his return, and Lanton would have prepared the 2020 performance review.

       80.     Lanton worked with RABIU throughout 2021 and was familiar with RABIU’s

performance. RABIU later asked Lanton if he had any complaints or concerns regarding RABIU’s

performance, and Lanton responded that he did not.

       81.     Upon information and belief, had Lanton been allowed to prepare RABIU’s 2020

performance review, it would have fairly reflected his actual performance and accomplishments



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in 2020. And had RABIU reported directly to Lanton in 2021, RABIU’s return to work would

have been free from discrimination and retaliatory treatment.

                             Silva forces RABIU out of the company

       82.     On February 23, 2021, RABIU attended a 2020 Goals Review meeting with Silva.

At the meeting, Silva assigned RABIU goals which were the responsibilities of other employees,

and which contradicted the responsibilities that Lanton had assigned to him. RABIU expressed his

concern to Silva that he was being managed by two people with conflicting expectations. RABIU

stated that he was afraid that this would lead to confusion, but also that he was being set up to fail.

       83.     On February 25, 2021, Silva sent RABIU Silva’s finalized goal for RABIU. RABIU

again complained that the proper process for goal setting was not being followed, and that he was

being set up to fail by working with one manager all year long while having another complete his

performance review.

       84.     On March 12, 2021, Silva abruptly summoned RABIU to his office for a face-to-

face meeting. RABIU was not supposed to be in on that date. Silva informed RABIU that the

meeting was to warn him of several infractions of company policies.

       85.     Silva gave RABIU the written warning, containing his alleged infractions. Some of

these included alleged inappropriate behavior at the February 18, 2021 performance review.

RABIU explained that some of the allegations were false, and none rose to the level of an

infraction. RABIU stated that he believed the letter was intended to threaten him and silence his

complaints of discrimination. Silva became rude and stated, “I just want you to know that any

mistake can get you fired, and we are tired of doing this and can’t do it anymore.”

       86.     Upon information and belief, Silva’s written warning was in retaliation for

RABIU’s complaints of racial discrimination and retaliation at the February 18, 2021 meeting.



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       87.     Following the March 12, 2021 meeting, Silva continued making demeaning and

threatening comments towards RABIU such as “We don’t really want you there” and “we don’t

need someone like you there.” The common theme of these comments was that RABIU was not

wanted at the company and could be fired at any minute. Silva made these comments several times

a month, both over the phone and during meetings with RABIU.

       88.     Upon information and belief, Silva did not talk to any similarly situated non-black

employees in this way.

       89.     In April of 2021, RABIU complained to corporate human resources about his

situation. RABIU was told they would investigate. Nothing ever came of this investigation.

       90.     RABIU’s already damaged mental health continued to deteriorate under Silva’s

oppressive and demeaning conduct. He had just returned from medical leave due to work-related

stress and was now his latest supervisor was telling him almost weekly that he was not wanted and

could be fired at any time. RABIU lived in constant anxiety and fear of losing his job, or otherwise

being retaliated against for sharing his concerns with management.

       91.     Moreover, RABIU knew that no matter how hard he worked and how much he

accomplished, he would never receive the same acknowledgement and support as his non-black

colleagues. RABIU could only expect to receive unfair and negative evaluations, in retaliation for

his complaints of discrimination.

       92.     Silva knew that RABIU had been diagnosed with chronic depression and PTSD,

and that RABIU took his earlier leave of absence because of these conditions.

       93.     Upon information and belief, Silvia began his campaign of harassment, threats, and

intimidation with the express purpose of preying on RABIU’s vulnerable mental condition and

forcing him out of the company for good.



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        94.     Starting on April 28, 2021, RABIU took a personal leave of absence, with a return-

to-work date of May 27, 2021.

        95.     Silva continued making demeaning comments towards RABIU even during his

leave, into May of 2021.

        96.     On May 21, 2021, RABIU requested a 10-day extension to his approved leave,

which Defendant denied.

        97.     On May 27, 2021, RABIU tendered his resignation.

        98.     RABIU resigned based on unfair treatment and his work environment being hostile.



               COUNT I – CONSTRUCTIVE TERMINATION BASED ON RACE
                                    Title VII

        99.     RABIU reincorporates and realleges Paragraphs 1 through 98 as though more fully

set forth herein.

        100.    Plaintiff is a member of a protected class, Black.

        101.    Plaintiff performed his job to Defendant’s legitimate expectations.

        102.    On May 27, 2021, Plaintiff resigned.

        103.    Plaintiff’s working conditions were so intolerable in a discriminatory way that a

reasonable person would be compelled to resign.

        104.    This included, in particular:

                a. Defendant’s assigning Plaintiff an unreasonable amount of work, far in excess

                    of the duties in his job title, and far more than any similarly situated non-black

                    employees;

                b. Defendant’s failure to promote or compensate Plaintiff commensurate with the

                    level of work that he was assigned;

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               c. Defendant’s refusing to provide support for the overburdened Plaintiff, while

                  allocating more resources to his similarly situated non-black colleagues;

               d. When Plaintiff finally complained that he was being treated less fairly than his

                  non-black colleagues, Defendant’s managers began a campaign of retaliatory

                  conduct against Plaintiff;

               e. Defendant’s campaign of overworking and retaliating against Plaintiff was so

                  bad that it contributed to his eventual diagnoses of depression and PTSD,

                  forcing him to take an extended period of medical leave;

               f. When Plaintiff finally returned to work, Defendant continued its campaign of

                  retaliation and unfair treatment through Silva.

               g. Silva’s 2020 performance review punished Plaintiff, based upon the retaliatory

                  and false statements of Plaintiff’s prior managers;

               h. Silva attempted to double Plaintiff’s workload by assigning him completely

                  different duties than Plaintiff’s manager Lanton;

               i. Silva berated and threatened Plaintiff several times a month from March of

                  2021 onwards;

               j. Defendant’s conduct was so egregious that Plaintiff again had to take another

                  period of personal leave to escape the harassment and retaliation; and,

               k. Silva continued harassing and threatening Plaintiff even while Plaintiff was on

                  leave.

               l. Defendant’s treatment was unbearable, considering that Plaintiff already

                  suffered from work-related PTSD and severe depression.

       105.    Plaintiff resigned knowing that Defendant would only continue to treat him poorly

upon his return. Plaintiff knew that he would continue to be overworked and denied the recognition
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of his non-black colleagues. Plaintiff knew that he would continue to suffer unfair and retaliatory

behavior from his managers, all because he dared to complain about his discriminatory treatment.

         106.   Defendant, through its agent Silva, acted in a manner so as to have communicated

to a reasonable employee that they will be terminated.

         107.   This included, in particular:

                a. Silva’s 2020 performance evaluation, which repeated false and unsupported

                   accusations by Plaintiff’s prior discriminatory managers;

                b. Silva’s conduct in connection with the performance evaluation, which

                   communicated that he was only concerned with punishing Plaintiff, and did not

                   care what Plaintiff had to say about his performance in 2020;

                c. Silva’s comments in 2021 that Plaintiff was not wanted at the company; and,

                d. Silva accusing Plaintiff of false infractions, and repeatedly telling Plaintiff that

                   he could be fired at any time;

         108.   Plaintiff saw the “writing on the wall” following his return from medical leave in

January of 2021: Defendant had not forgotten about Plaintiff’s earlier complaints of racial

discrimination, and Plaintiff would either be fired or should quit.

         109.   Similarly situated employees outside of Plaintiff’s protected class were treated

more favorably.

         110.   Plaintiff resigned as a direct result of Defendant’s discriminatory conduct.

         111.   Defendant’s conduct amounted to constructive discharge, on the basis of race, in

violation of Title VII.

         112.   Defendant knew that its treatment of RABIU violated Title VII and 42 U.S.C.

§1981.

         113.   Plaintiff demands a jury trial.
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           WHEREFORE, Plaintiff, AZEEZ RABIU, respectfully prays that this Honorable Court:

                    a. Enter a declaratory judgment that the practices complained of herein are

                       unlawful and in violation of Title VII;

                    b. Permanently enjoin Defendant, its agents, successors, officers, employees,

                       attorneys, and those acting in concert with it or them from engaging in each of

                       the unlawful practices, policies, customs, and usages set forth herein, and from

                       continuing the unlawful practices, policies, customs, and usages set forth

                       herein, and from continuing any and all practices shown to be in violation of

                       applicable law;

                    c. Order modification or elimination of the practices, policies, customs, and

                       usages set forth herein and all other such practices shown to be in violation of

                       applicable law so that they will not retaliate in violation of law;

                    d. Compensate and make RABIU whole for all earnings, wages, including

                       prejudgment interest and other benefits that he would have received but for the

                       discriminatory practices of Defendant;

                    e. Award RABIU compensatory damages;

                    f. Award RABIU the costs and disbursements of this action, including reasonable

                       attorney’s fees;



    COUNT II – UNEQUAL TERMS AND CONDITIONS OF EMPLOYMENT BASED ON
                                  RACE
                                 Title VII


        114.        RABIU reincorporates and realleges Paragraphs 1 through 98 as though more fully

set forth herein.

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       115.       Plaintiff is a member of a protected class, Black.

       116.       Plaintiff was hired as a Senior Procurement Specialist in August of 2017, and

ultimately promoted to Category Lead on or about April of 2019.

       117.       Plaintiff’s responsibilities included managing category spend, negotiating

contracts, consulting statuses, working with internal stakeholders to understand the needs of the

business, and then going to external vendors to meet those needs; and also working on commercial

cost savings for Defendant

       118.       Plaintiff performed his job to Defendant’s legitimate expectations.

       119.       Defendant subjected Plaintiff to unequal terms and conditions of employment,

setting Plaintiff up to fail while setting similarly situated non-black employees up to succeed.

       120.       Plaintiff’s unequal treatment included, in particular:

                  a. Defendant requiring Plaintiff to perform the additional duties of nearly three

                      other employees, after Plaintiff’s two colleagues and then-supervisor

                      transitioned out in 2018. This workload was not only excessive but included

                      managerial duties above Plaintiff’s position.

                  b. Defendant failing to backfill these vacancies, requiring Plaintiff to continue

                      performing these extra duties through at least June of 2020;

                  c. Troth requiring Plaintiff to lead a major project in May of 2019, on top of his

                      already excessive workload;

                  d. Silva assigning Plaintiff duties in February of 2021, in addition to the duties

                      assigned to Plaintiff by his manager Lanton;

                  e. Defendant denying Plaintiff’s repeated requests for support with his excessive

                      workload;



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             f. Plaintiff having to cancel vacation plans, work while on vacation, and work on

                 days when he had to leave the office to go to physical therapy;

             g. Defendant denying Plaintiff’s requests for reimbursement for vacation days on

                 which he had to work;

             h. Defendant denying Plaintiff’s request for flexible working conditions on days

                 when he had physical therapy, requiring Plaintiff to take unpaid leave even

                 though he worked on those days;

             i. Defendant denying Plaintiff’s request for remote work while caring for his

                 mother in Nigeria, requiring Plaintiff to take unpaid leave even though he

                 worked during that time;

             j. Defendant giving Plaintiff unjustified poor performance reviews, even though

                 Plaintiff succeeded at performing his excessive duties, and docking his pay;

             k. Defendant denying Plaintiff recognition for his accomplishments, and giving

                 non-black employees recognition for Plaintiff’s own achievements; and,

             l. Defendant, through Silva, singling out Plaintiff for punitive and cruel treatment

                 upon his return from leave in January of 2021.

       121. Similarly situated employees outside of Plaintiff’s protected class were treated

more favorably. In particular:

             a. No non-black Senior Procurement Specialists or Category Leads were assigned

                 the same amount of extra work that Plaintiff was assigned;

             b. Other groups with non-black Category Leads had vacancies backfilled, while

                 the vacancies in Plaintiff’s group were not;

             c. Other similarly situated non-black employees were otherwise granted support

                 and resources that Plaintiff was denied;
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                d. Other similarly situated non-black employees were granted flexible working

                   conditions and remote work, even though Plaintiff was told that such

                   arrangements were not allowed;

                e. Other similarly situated non-black employees received more favorable

                   performance reviews for achieving less than Plaintiff;

         122.   Defendant subjected Plaintiff to this unequal treatment on the basis of his race.

         123.   Defendant knew that its treatment of RABIU violated Title VII and 42 U.S.C.

§1981.

         124.   Plaintiff demands a jury trial.

         WHEREFORE, Plaintiff, AZEEZ RABIU, respectfully prays that this Honorable Court:

                a. Enter a declaratory judgment that the practices complained of herein are

                   unlawful and in violation of Title VII;

                b. Permanently enjoin Defendant, its agents, successors, officers, employees,

                   attorneys, and those acting in concert with it or them from engaging in each of

                   the unlawful practices, policies, customs, and usages set forth herein, and from

                   continuing the unlawful practices, policies, customs, and usages set forth

                   herein, and from continuing any and all practices shown to be in violation of

                   applicable law;

                c. Order modification or elimination of the practices, policies, customs, and

                   usages set forth herein and all other such practices shown to be in violation of

                   applicable law so that they will not retaliate in violation of law;

                d. Compensate and make RABIU whole for all earnings, wages, including

                   prejudgment interest and other benefits that he would have received but for the

                   discriminatory practices of Defendant;
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                e. Award RABIU compensatory damages;

                f. Award RABIU the costs and disbursements of this action, including reasonable

                    attorney’s fees;

                g. Award RABIU and grant such relief as may be just and proper.



  COUNT III – DENIAL OF FLEXIBLE WORKING CONDITIONS BASED ON RACE
                                Title VII


        125.    RABIU reincorporates and realleges Paragraphs 1 through 98 as though more fully

set forth herein.

        126.    Plaintiff is a member of a protected class, Black.

        127.    Plaintiff performed his job to Defendant’s legitimate expectations.

        128.    Defendant denied Plaintiff’s reasonable requests for flexible working conditions:

                a. On September 16, 2019, when Plaintiff asked for a flexible working

                    arrangement to attend physical therapy during workdays; and,

                b. On September 17, 2019, when Plaintiff asked to work remotely while caring for

                    his mother in Nigeria.

                               129.    Similarly situated employees outside of Plaintiff’s protected

                       class were treated more favorably. Defendant granted non-black

                       employees’ requests for flexible working arrangements in similar

                       circumstances. This included at least one non-black employee’s request to

                       work remotely when a family member died. Defendant had told Plaintiff

                       that remote work was not allowed.

        130.    Defendant denied Plaintiff’s requests on the basis of his race.



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         131.   Defendant knew that its treatment of RABIU violated Title VII and 42 U.S.C.

§1981.

         132.   Plaintiff demands a jury trial.

         WHEREFORE, Plaintiff, AZEEZ RABIU, respectfully prays that this Honorable Court:

                a. Enter a declaratory judgment that the practices complained of herein are

                   unlawful and in violation of Title VII;

                b. Permanently enjoin Defendant, its agents, successors, officers, employees,

                   attorneys, and those acting in concert with it or them from engaging in each of

                   the unlawful practices, policies, customs, and usages set forth herein, and from

                   continuing the unlawful practices, policies, customs, and usages set forth

                   herein, and from continuing any and all practices shown to be in violation of

                   applicable law;

                c. Order modification or elimination of the practices, policies, customs, and

                   usages set forth herein and all other such practices shown to be in violation of

                   applicable law so that they will not retaliate in violation of law;

                d. Compensate and make RABIU whole for all earnings, wages, including

                   prejudgment interest and other benefits that he would have received but for the

                   discriminatory practices of Defendant;

                e. Award RABIU compensatory damages;

                f. Award RABIU the costs and disbursements of this action, including reasonable

                   attorney’s fees;




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                   COUNT IV – DENIAL OF ADVANCEMENT BASED ON RACE
                                         Title VII


            133.   RABIU reincorporates and realleges Paragraphs 1 through 98 as though more fully

   set forth herein.

            134.   Plaintiff is a member of a protected class, Black.

            135.   Plaintiff performed his job to Defendant’s legitimate expectations.

            136.   Plaintiff applied for the role of Senior Manager (level 20) on or about September

   of 2019 and January of 2020.

            137.   Plaintiff was qualified for the role of Senior Manager (level 20), as he had

   effectively been performing the duties of a Senior Manager since 2018 and had been consistently

   delivering despite a lack of resources.

            138.   Defendant denied Plaintiff advancement despite his qualifications.

            139.   Similarly situated employees outside of Plaintiff’s protected class were treated

   more favorably. In particular:

a. Plaintiff was more qualified for the role of Senior Manager than existing non-black Senior

   Managers; and,

            140.   Defendant denied Plaintiff’s applications on the basis of his race.

            141.   Defendant knew that its treatment of RABIU violated Title VII and 42 U.S.C.

   §1981.

            142.   Plaintiff demands a jury trial.




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  WHEREFORE, Plaintiff, AZEEZ RABIU, respectfully prays that this Honorable Court:

        a. Enter a declaratory judgment that the practices complained of herein are

            unlawful and in violation of Title VII;

        b. Permanently enjoin Defendant, its agents, successors, officers, employees,

            attorneys, and those acting in concert with it or them from engaging in each of

            the unlawful practices, policies, customs, and usages set forth herein, and from

            continuing the unlawful practices, policies, customs, and usages set forth

            herein, and from continuing any and all practices shown to be in violation of

            applicable law;

        c. Order modification or elimination of the practices, policies, customs, and

            usages set forth herein and all other such practices shown to be in violation of

            applicable law so that they will not retaliate in violation of law;

        d. Compensate and make RABIU whole for all earnings, wages, including

            prejudgment interest and other benefits that he would have received but for the

            discriminatory practices of Defendant;

        e. Award RABIU compensatory damages;

        f. Award RABIU the costs and disbursements of this action, including reasonable

            attorney’s fees;




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                                                  Respectfully submitted,
                                                  AZEEZ RABIU,


                                            By:   /s/ Henderson M. Banks
                                                  One of his attorneys

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